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                EXHIBIT B
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                                                                                                        1301 K Street, N.W.
                                                                                                   Suite 1000 – East Tower
                                                                                               Washington, D.C. 20005-3373
A. Scott Bolden                                                                                            +1 202 414 9200
Direct Phone: + 1 202 414 9266                                                                        Fax +1 202 414 9299
Email: abolden@reedsmith.com                                                                                 reedsmith.com



March 23, 2021

Confidential

By Electronic Mail

Jeffrey Ragsdale
Director and Chief Counsel
Office of Professional Responsibility
U.S. Department of Justice
950 Pennsylvania Avenue, N.W., Suite 3266
Washington, D.C. 20530-0001

        Re:      Supplemental Letter In Support of Complaint Against Former Acting United States
                 Attorney Stephen M. Schenning and Assistant United States Attorney Leo J. Wise for
                 the District of Maryland

Dear Mr. Ragsdale:

I write to supplement my letter of March 19, 2021 which pertains to the alleged misconduct of Former
Acting United States Attorney Stephen M. Schenning (“Mr. Schenning”) and Assistant United States
Attorney Leo J. Wise (“Mr. Wise”) in connection with a federal criminal tax investigation commenced
against my clients, State’s Attorney for Baltimore City Marilyn Mosby (“State’s Attorney Mosby”) and
Baltimore City Council President Nick Mosby (“Council President Mosby”), by the United States
Attorney’s Office for the District of Maryland (“USAO”) See Exhibit A.

Messrs. Schenning and Wise have exhibited a genuine animus towards my clients that has resulted in the
instant vindictive criminal investigation. As previously stated, they have engaged in a smear campaign to
falsely accuse State’s Attorney Mosby and her staff of improperly leaking certain facts regarding the
USAO’s prosecution of members of the Baltimore Gun Trace Task Force (the “GTTF Prosecution”). The
falsity of this alleged leak or tip by a prosecutor in State’s Attorney Mosby’s office was extensively
discussed and memorialized in multiple letters between State’s Attorney Mosby and Mr. Schenning. See
Exhibit B. Instead of taking the appropriate step of recusing themselves from the instant investigation,
Messrs. Schenning and Wise continued to engage in professional misconduct by recently revealing facts
of the instant grand jury investigation to the media in an effort to harass, degrade, and embarrass my
clients.

Publicly available records further support our allegation of the animus exhibited by the USAO, and
specifically Mr. Wise, against my clients. In fact, according to campaign finance records for the State of
       ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
    HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON
           RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
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Maryland, Mr. Wise has made a total of two political contributions in support of a candidate for office in
the State of Maryland – one on January 10, 2018, and the other on June 14, 2018 – and each contribution
was made in support of an opponent of State’s Attorney Mosby. See Exhibit C. These donations were
made during the same time period when Mr. Wise made the unsupported allegations regarding the alleged
role played by State’s Attorney Mosby’s office in leaking certain facts about the GTTF Prosecution.

On January 5, 2018, during the plea hearing for Wayne Jenkins, Mr. Wise again stated on the record in a
proceeding widely covered by the media that the defendant spoke with a prosecutor in State’s Attorney
Mosby’s office who told the defendant that one of his co-defendants was under investigation for lying and
stealing. The impression left by Mr. Wise was that a prosecutor in State’s Attorney Mosby’s office had
tipped off Mr. Jenkins about the GTTF Prosecution. The most troubling aspect of this statement on the
record is that Mr. Wise was aware that over the previous year State’s Attorney Mosby had raised concerns
that a mere allegation of this nature with no supporting evidence is both insufficient and troubling. Despite
being on notice about the seriousness of making baseless public accusations, at Mr. Jenkins’s January 5,
2018 plea hearing – more than a year after Mr. Jenkins’s detention hearing – Mr. Wise again made an
unsupported public accusation about a Baltimore City prosecutor’s role in leaking facts of the GTTF
Prosecution.

Following Mr. Wise’s reckless statement on the record at the January 5, 2018 plea hearing, on that same
day, State’s Attorney Mosby and her Chief Deputy, Michael Schatznow, met with Mr. Schenning and the
trial attorneys on the GTTF Prosecution, which included Mr. Wise. During this meeting, Mr. Schenning
stated that the basis of Mr. Wise’s statement in court about the role played by a prosecutor in State’s
Attorney Mosby’s office in leaking confidential information was learned from a proffer session between
the USAO and the defendant, Mr. Jenkins. Following this assertion by Mr. Schenning, State’s Attorney
Mosby requested the portion of the notes from Mr. Jenkins’s proffer that implicated a prosecutor in her
office and despite their best efforts, the trial attorneys at USAO, namely Mr. Wise, were unable to locate
the notes that supposedly formed the basis of Mr. Wise’s public accusation. Mr. Schenning then ended
the meeting with the promise that evidence supporting Mr. Wise’s assertion would be provided following
that meeting. To date, not only has Mr. Schenning failed to provide supporting evidence, subsequent
communications from State’s Attorney Mosby to Mr. Schenning confirm that the purported leak was not
related to a “federal” investigation. In fact, the evidence shows that that during his proffer session with
the USAO, Mr. Jenkins was most likely referring to being tipped off about an investigation being handled
by State’s Attorney Mosby’s office, not the GTTF Prosecution. See Exhibit B.

Based on these facts, it is clear that Mr. Wise’s representation to the Court during Jenkins’s plea hearing
was not only misleading – as the defendant was tipped off about a different state-level investigation – but
it was also reckless since it resulted in the generation of negative media publicity about State’s Attorney
Mosby. Putting aside the fact that Mr. Wise lacked a good faith basis to make such an accusation, his
motives are even more evident when his gratuitous statement is viewed in appropriate context. Because
it is unclear how alleged leaks regarding the GTTF Prosecution had any relevance to Mr. Jenkins’s plea
hearing, and in fact, the evidence suggests it was simply a gratuitous statement intended to garner
additional media scrutiny. However, Mr. Wise’s animus did not stop there. Exactly five days after his
reckless statement on the record and five days after failing to produce supporting evidence from his notes
during the meeting with State’s Attorney Mosby, on January 10, 2018, Mr. Wise donated to the campaign
of Thiruvendran Vignarajah’s, one of State’s Attorney Mosby’s challengers during the primary election.
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See Exhibit B. Then, six months later, Mr. Wise made his second of only two political contributions on
record, but this time in support of the other candidate who was challenging State’s Attorney Mosby during
the primary election.

For the reasons stated in my letter of March 19, 2021 and based on the above, the USAO’s federal criminal
tax investigation against my clients appears to be frivolous, politically-motivated, and driven by the
animus both Mr. Schenning and Mr. Wise have against State’s Attorney Mosby. The history here shows
that these prosecutors, specifically Mr. Wise, were put on notice and repeatedly called to task on the
recklessness of their gratuitous statements in the public space and yet failed to produce relevant support
when such evidence was demanded of them. Because Mr. Wise was unable to remove State’s Attorney
Mosby from her elected position through his political contributions and false accusation of leaking
information about the GTTF Prosecution, it now appears he has resorted to commencing a vindictive
prosecution. This is not a coincidence.

Based on Messrs. Schenning’s and Wise’s vindictive and ethically-challenged conduct, I reiterate my
request that these prosecutors be immediately removed from this investigation and that your office
investigate their alleged misconduct.

Please do not hesitate to contact me should you have any questions.

Sincerely, I am,

/s/ A Scott Bolden

A. Scott Bolden

CC:    Nicholas L. McQuaid, Esq.
       Stephen M. Schenning, Esq.
       Leo J. Wise, Esq.
       Rizwan A. Qureshi, Esq. (Reed Smith LLP)
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                         EXHIBIT A
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May 19, 2021

Confidential

By Electronic Mail

Jeffrey Ragsdale
Director and Chief Counsel
Office of Professional Responsibility
U.S. Department of Justice
950 Pennsylvania Avenue, N.W., Suite 3266
Washington, D.C. 20530-0001

        Re:      Complaint Against Former Acting United States Attorney Stephen M. Schenning
                 and Assistant United States Attorney Leo J. Wise for the District of Maryland

Dear Mr. Ragsdale:

This is to advise you that I have been engaged by State’s Attorney for Baltimore City Marilyn Mosby
(“State’s Attorney Mosby”) and Baltimore City Council President Nick Mosby (“Council President
Mosby”) in connection with a federal criminal tax investigation commenced by the United States
Attorney’s Office for the District of Maryland (“USAO”). Please direct all future correspondence
regarding this matter, to my attention.

I write to inform you of certain troubling misconduct by Former Acting United States Attorney Stephen
M. Schenning (“Mr. Schenning”) and Assistant United States Attorney Leo J. Wise (“Mr. Wise”) while
performing their duties in connection with above-referenced investigation against my clients. Their
misconduct warrants their immediate removal from this matter and an investigation by your office.

There is no question that the investigation against my clients is frivolous, politically-motivated, and arises
from the animus both Mr. Schenning and Mr. Wise have against State’s Attorney Mosby. But for their
genuine animus towards my client, what could have been a routine civil tax examination resulted in a
vindictive federal criminal investigation.1 Their animus is further demonstrated by the fact that they have
intentionally revealed facts of a secret grand jury investigation to the media in an effort to harass, degrade,
and embarrass my clients.


1
 See United States v. Johnson, 325 F.3d 205, 210 (4th Cir. 2003) (citing the elements to establish prosecutorial
vindictiveness as “(1) the prosecutor acted with genuine animus toward the defendant and (2) the defendant would not have
been prosecuted but for that animus”) (internal citation omitted).
       ABU DHABI  ATHENS  AUSTIN  BEIJING  BRUSSELS  CENTURY CITY  CHICAGO  DALLAS  DUBAI  FRANKFURT  HONG KONG
    HOUSTON  KAZAKHSTAN  LONDON  LOS ANGELES  MIAMI  MUNICH  NEW YORK  PARIS  PHILADELPHIA  PITTSBURGH  PRINCETON
           RICHMOND  SAN FRANCISCO  SHANGHAI  SILICON VALLEY  SINGAPORE  TYSONS  WASHINGTON, D.C.  WILMINGTON
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On March 10, 2021, Mr. Schenning issued grand jury subpoenas to State’s Attorney Mosby and Council
President Mosby, among others, in connection with a federal criminal investigation into their federal
income tax filings for tax years January 2014 to the present. Even a cursory review of the history here
reveals that since at least 2017, Messrs. Schenning and Wise have been engaged in a smear campaign to
falsely accuse State’s Attorney Mosby and her staff of improperly leaking certain facts regarding the
USAO’s prosecution of members of the Baltimore Gun Trace Task Force (the “GTTF Prosecution”).
Despite State’s Attorney Mosby’s multiple requests to Mr. Schenning for relevant evidence regarding the
alleged leak within her office, Mr. Schenning’s office instead chose to make a public accusation (through
Mr. Wise) against State’s Attorney Mosby and her office during the detention hearing of Wayne Jenkins,
an officer charged and convicted as part of the GTTF Prosecution. For more than a year, State’s Attorney
Mosby engaged in dialogue with Mr. Schenning and Mr. Wise about their rationale for implicating her
office in what was determined to be unsubstantiated accusations that were motivated simply to cast
aspersions on her office.

Given this tumultuous history, Messrs. Schenning and Wise were required to report to the Executive
Office for United States Attorneys General Counsel’s Office (“GCO”) about their relationship with State’s
Attorney Mosby that would necessitate their recusal in the instant federal criminal investigation against
my clients. See Justice Manual § 3-1.140. Their prolonged smear campaign demonstrates a conflict of
interest between them and State’s Attorney Mosby or, at the very least, an appearance of a loss of
impartiality. Id. However, there are no facts to indicate that they alerted the GCO “to discuss whether a
recusal is required.” Id.

Instead of taking the appropriate actions to recuse themselves from the investigation, Messrs. Schenning
and Wise have led the instant investigation with reckless disregard for the secret nature of grand jury
investigations by prematurely alerting the media and community members of my clients’ connection to
this investigation. In fact, on March 10, 2021, at the direction of the prosecutors, FBI agents interrupted
Council President Mosby while he was conducting a city-wide Board of Estimates meeting and demanded
to speak with him. Rather than leave a subpoena or conduct their field investigation outside of the scope
of public view, the FBI interrupted Council President Mosby during a public meeting in an effort to alert
the public of the pending investigation.

As a direct result of the FBI’s intentional lack of discretion, that same night, Fox News sent a media
inquiry to Council President Mosby’s office requesting comment on not only the FBI investigation, but
also the subpoena that was served on him. Although the FBI’s presence was publicly known, the fact that
Council President Mosby was served with a subpoena was not publicly known, suggesting that someone
on the prosecution team leaked the existence of the subpoena to the media.

The roles played by Messrs. Schenning and Wise in leaking to the press is only further supported by the
fact that State’s Attorney Mosby was made aware by a reporter in October 2020 that she was under
investigation. There is reason to believe that Mr. Wise is communicating with the media regarding this
federal investigation since a reporter with knowledge of the investigation has a close relationship with him
and also authored a book on the GTTF Prosecution – a prosecution led by Mr. Wise.

As a career prosecutor, including serving as Chief of the Homicide Section at the U.S. Attorney’s Office
in the District, you are well aware of the vital importance of maintaining the secrecy and overall integrity
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of a grand jury investigation. In fact, the Justice Manual provides that the function of the grand jury is
not only the investigation of crime, “but also the protection of the citizenry from unfounded criminal
charges.” See Justice Manual, § 9-11.010. Prosecutors like Mr. Schenning and Mr. Wise are required to
conduct themselves as officers of the court who have a duty to ensure justice is done and “must do nothing
to inflame or otherwise improperly influence the grand jury.” Id. (emphasis added). The evidence here
suggests that Messrs. Schenning and Wise have no regard for the Justice Manual or their oath, given that
their conduct has been entirely focused on treating my clients like criminals all while inflaming the grand
jury with their improper prosecutorial tactics effectuated through the FBI and leaks to the media. Given
Mr. Schenning’s specific role in leadership of the USAO, I am also copying Acting Assistant Attorney
General McQuaid, in the hope that he determines in his judgment that, given the instant referral to OPR,
these prosecutors are immediately removed from the investigation and that this animus-driven
investigation is immediately suspended.

Attorney Mosby and Council President Mosby are high-profile public servants that fight everyday against
systems of injustice, inequality, and racism. They have been at the forefront of police accountability
reform, criminal justice reform, and racial health disparities. Although they have not been charged with
a criminal offense, Mr. Schenning and Mr. Wise have already led them to be tried and convicted in the
court of public opinion.

Based on Mr. Schenning’s and Mr. Wise’s exhibited genuine animus towards State’s Attorney Mosby and
Council President Mosby that resulted in an unwarranted investigation into their taxes, I request that these
prosecutors be immediately removed from this baseless and politically-motivated investigation and that
OPR investigate their misconduct.

Please do not hesitate to contact me should you have any questions or need any additional information
regarding this matter.

Sincerely, I am,

/s/ A Scott Bolden /RQ

A. Scott Bolden

CC:    Nicholas L. McQuaid, Esq.
       Stephen M. Schenning, Esq.
       Leo J. Wise, Esq.
       Rizwan A. Qureshi, Esq. (Reed Smith LLP)
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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     District of Maryland

Srephen M. Schenning                                 Suite 400                      DIRECT: 110-209-4800
Acting United States Anomey                          36 S. Charles Steet              MAIN:110-209-4800
        k
S tephe n. henn i n g@usdot. gov                     Baltin orc. MD 21201-31   l9      FAX:110-962-3091


                                                      March 7, 20'l 8


Marilyn J. Mosby
State's Attomey
Office of the State's Attomey for Baltimore City
120 East Baltimore Street
Baltimore, MD 21202


Dear Ms. Mosby:

     Thank you for your letter ol February 26,2018. You ask that I provide you with all the
underlying evidence that might implicate anyone in your office in providing information to
Wayne Jenkins in connection with the G.T.T.F. case. My lefter of February 15, 2018, represents
an accurate summary ofthe information we have on the subject.

     Whether you regard this information as evidence or mere speculation, conjecture, or
unlikely inferences is, ofcourse, yourjudgment and prerogative. We did not bring criminal
charges against Ms. Mantegna nor do we intend to do so.

        I understand from press accounts that you have terminated Ms. Mantegna's employment.

       The only other information regarding personnel in your office related to Jenkins is that Mia
Morosy is married to a police officer. In confidence, I advised you that we were told that this
police olficer informed Wayne Jenkins about the existence of a wiretap on Momodu Gondo. I
had no "evidence" that Ms. Morosy did anfhing wrong. In fact, I had no klowledge of her
marital status until Ms. Mantegna brought it up in her interview with the FBI. But you have
raised the point that Ms. Mantegna had no knowledge ofthe federal investigation so her l7-
minute phone conversation with Jenkins on October 5, 2016 could not have been a tipoff.
        I can only say what we know. Ms. Mantegna called Jenkins on October 5, 2016. On
October 5, 2016, Gondo and Hendrix are heard on a wiretap discussing what Jenkins had told
Gondo: a femate ASA had said Rayam was under investigation. After his arrest on federal
charges, Jenkins in proffer sessions with the FBI identified Ms. Mantegna as the female ASA
and his phone records confirm the I 7-minute call. Jenkins also identified by name the police
officer (Ms. Morosy's husband) who had told him Gondo was the subject of a wiretap and
federal investigation. Lastly, Jenkins pleaded guilty and affirmed in his guitty plea that he was
wamed by an ASA and a member of the BPD about the investigation. The Govemment raised
this information at Jenkins' detention hearing to support its motion that, because of his contacts,
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he presented a potential threat to the prosecution case. Obviously, there were other factors we
cited in pursuing Jenkins' detention - which the Court ordered - but we believed the suspicion
that Jenkins had the potential ability to acquire sensitive information about the prosecution case
lrom insiders lo be reasonable.

      In a related matter, I understand that you have formed a police integrity unit in your otlce
under the supervision on Janet Bledsoe. From press accounts, I further understand Commissioner
Desousa has established a unit in Intemal Affairs specifically charged with pursing allegations
against BPD personnel that arose during the G.T.T.F. trial and investigation. I assume that Ms.
Bledsoe and the IAD will coordinate their efforts.
       To assist you, I would propose a meeting between Ms. Bledsoe, the prosecutors assisting
her, and the BPD officers assigned to the IAD unit with the FBI agents and AUSAs who
prosecuted the G.T.T.F.

     Let me know whether you are interested in pursuing this avenue



                                                      Very truly yours,


                                                                               /
                                                              M. Schenning
                                                      Acting United States Attomey

cc: Michael Schatzow




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                         EXHIBIT C
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